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                    United States Court of Appeals for the Third Circuit


                              Corporate Disclosure Statement and
                                Statement of Financial Interest


                                  No. _________
                                                   25- 1555 (See attachment A for additional cases.)
                 ATLAS DATA PRIVACY CORPORATION, et al



                                                           v.
                 WE INFORM LLC, et al



                                                 Instructions

                 Pursuant to Rule 26.1, Federal Rules of Appellate Procedure any nongovernmental
corporate party to a proceeding before this Court must file a statement identifying all of its parent
corporations and listing any publicly held company that owns 10% or more of the party’s stock.

                  Third Circuit LAR 26.1(b) requires that every party to an appeal must identify on the
Corporate Disclosure Statement required by Rule 26.1, Federal Rules of Appellate Procedure, every
publicly owned corporation not a party to the appeal, if any, that has a financial interest in the outcome of
the litigation and the nature of that interest. This information need be provided only if a party has
something to report under that section of the LAR.

                  In all bankruptcy appeals counsel for the debtor or trustee of the bankruptcy estate shall
provide a list identifying: 1) the debtor if not named in the caption; 2) the members of the creditors’
committee or the top 20 unsecured creditors; and, 3) any entity not named in the caption which is an
active participant in the bankruptcy proceedings. If the debtor or the bankruptcy estate is not a party to the
proceedings before this Court, the appellant must file this list. LAR 26.1(c).

                The purpose of collecting the information in the Corporate Disclosure and Financial
Interest Statements is to provide the judges with information about any conflicts of interest which would
prevent them from hearing the case.

                  The completed Corporate Disclosure Statement and Statement of Financial Interest Form
must, if required, must be filed upon the filing of a motion, response, petition or answer in this Court, or
upon the filing of the party’s principal brief, whichever occurs first. A copy of the statement must also be
included in the party’s principal brief before the table of contents regardless of whether the statement has
previously been filed. Rule 26.1(b) and (c), Federal Rules of Appellate Procedure.

                 If additional space is needed, please attach a new page.


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                                                         Atlas Data Privacy Corporation
Pursuant to Rule 26.1 and Third Circuit LAR 26.1,
makes the following disclosure:                                     (Name of Party)

              1) For non-governmental corporate parties please list all parent
corporations: N/A


            2) For non-governmental corporate parties please list all publicly held
companies that hold 10% or more of the party’s stock:
N/A




               3) If there is a publicly held corporation which is not a party to the
proceeding before this Court but which has as a financial interest in the outcome of the
proceeding, please identify all such parties and specify the nature of the financial
interest or interests:
 N/A




               4) In all bankruptcy appeals counsel for the debtor or trustee of the
bankruptcy estate must list: 1) the debtor, if not identified in the case caption; 2) the
members of the creditors’ committee or the top 20 unsecured creditors; and, 3) any
entity not named in the caption which is active participant in the bankruptcy proceeding.
If the debtor or trustee is not participating in the appeal, this information must be
provided by appellant.
N/A




/s/ Adam R. Shaw                                         Dated:   4/10/2025
(Signature of Counsel or Party)


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                                            Attachment A
No. 25-1556
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No. 25-1557
Atlas Data Privacy Corp. et al. v. People Searchers LLC

No. 25-1558
Atlas Data Privacy Corp. et al. v. DM Group Inc.

No. 25-1559
Atlas Data Privacy Corp. et al. v. Deluxe Corp.

No. 25-1560
Atlas Data Privacy Corp. et al. v. Quantarium Alliance LLC, et al.

No. 25-1561
Atlas Data Privacy Corp. et al. v. Yardi Systems Inc.

No. 25-1562
Atlas Data Privacy Corp. et al. v. Digital Safety Products LLC

No. 25-1563
Atlas Data Privacy Corp. et al. v. Civil Data Research

No. 25-1564
Atlas Data Privacy Corp. et al. v. Scalable Commerce LLC, et al.

No. 25-1565
Atlas Data Privacy Corp. et al. v. Labels & Lists Inc.

No. 25-1566
Atlas Data Privacy Corp. et al. v. Innovis Data Solutions Inc.

No. 25-1567
Atlas Data Privacy Corp. et al. v. Accurate Append Inc.

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Atlas Data Privacy Corp. et al. v. Zillow Inc., et al.
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Atlas Data Privacy Corp. et al. v. Equimine Inc.

No. 25-1570
Atlas Data Privacy Corp. et al. v. Thomson Reuters Corp., et al.

No. 25-1571
Atlas Data Privacy Corp. et al. v. Melissa Data Corp.

No. 25-1572
Atlas Data Privacy Corp. et al. v. Restoration of America, et al.

No. 25-1573
Atlas Data Privacy Corp. et al. v. i360 LLC

No. 25-1574
Atlas Data Privacy Corp. et al. v. GoHunt LLC, et al.

No. 25-1575
Atlas Data Privacy Corp. et al. v. AccuZip Inc.

No. 25-1576
Atlas Data Privacy Corp. et al. v. Synaptix Technology LLC, et al.

No. 25-1577
Atlas Data Privacy Corp. et al. v. Joy Rockwell Enterprises Inc.

No. 25-1578
Atlas Data Privacy Corp. et al. v. Fortnoff Financial LLC

No. 25-1579
Atlas Data Privacy Corp. et al. v. MyHeritage Ltd., et al.

No. 25-1580
Atlas Data Privacy Corp. et al. v. E-Merges.com Inc.

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Atlas Data Privacy Corp. et al. v. Nuwber Inc.
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No. 25-1582
Atlas Data Privacy Corp. et al. v. RocketReach LLC

No. 25-1583
Atlas Data Privacy Corp. et al. v. Belles Camp Communications Inc.

No. 25-1584
Atlas Data Privacy Corp. et al. v. PropertyRadar Inc.

No. 25-1585
Atlas Data Privacy Corp. et al. v. Alesco Group LLC, et al.

No. 25-1586
Atlas Data Privacy Corp. et al. v. Searchbug Inc.

No. 25-1587
Atlas Data Privacy Corp. et al. v. Amerilist Inc.

No. 25-1588
Atlas Data Privacy Corp. et al. v. US Data Corp.

No. 25-1589
Atlas Data Privacy Corp. et al. v. Smarty LLC, et al.

No. 25-1590
Atlas Data Privacy Corp. et al. v. Compact Information Systems LLC, et al.

No. 25-1591
Atlas Data Privacy Corp. et al. v. DarkOwl LLC

No. 25-1592
Atlas Data Privacy Corp. et al. v. Spy Dialer Inc.

No. 25-1593
Atlas Data Privacy Corp. et al. v. Lighthouse List Co. LLC

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Atlas Data Privacy Corp, et al v. First Direct Inc.
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Atlas Data Privacy Corp, et al v. Greenflight Venture Corp.
